 Case 1:23-cv-11195-SHS-OTW     Document 181      Filed 08/12/24      Page 1 of 2




                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK



THE NEW YORK TIMES COMPANY
                 Plaintiff,

                    v.
MICROSOFT CORPORATION, OPENAI, INC.,
OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,         Civil Action No. 1:23-cv-11195-SHS
OPENAI OPCO LLC, OPENAI GLOBAL LLC,
OAI CORPORATION, LLC, and OPENAI
HOLDINGS, LLC,

                 Defendants.




                               Exhibits C36-C70
                 (nyt-1947-1950-Part36 to nyt-1947-1950-Part70)
            The New York Times Company’s First Amended Complaint


                                  /s/ Ian Crosby
                                  Ian Crosby (pro hac vice)
                                  Genevieve Vose Wallace (pro hac vice)
                                  Katherine M. Peaslee (pro hac vice)
                                  SUSMAN GODFREY L.L.P.
                                  401 Union Street, Suite 3000
                                  Seattle, WA 98101
                                  Telephone: (206) 516-3880
                                  Facsimile: (206) 516-3883
                                  icrosby@susmangodfrey.com
                                  gwallace@susmangodfrey.com
                                  kpeaslee@susmangodfrey.com

                                  Davida Brook (pro hac vice)
                                  Emily K. Cronin (pro hac vice)
                                  Ellie Dupler (pro hac vice)
                                  SUSMAN GODFREY L.L.P.
                                  1900 Ave of the Stars, Suite 1400
                                  Los Angeles, CA 90067
                                  Telephone: (310) 789-3100

                                     1
Case 1:23-cv-11195-SHS-OTW   Document 181     Filed 08/12/24    Page 2 of 2




                               Facsimile: (310) 789-3150
                               dbrook@susmangodfrey.com
                               ecronin@susmangodfrey.com
                               edupler@susmangodfrey.com

                               Elisha Barron (5036850)
                               Zachary B. Savage (ZS2668)
                               Tamar Lusztig (5125174)
                               Alexander Frawley (5564539)
                               Eudokia Spanos (5021381)
                               SUSMAN GODFREY L.L.P.
                               One Manhattan West
                               New York, NY 10001
                               Telephone: (212) 336-8330
                               Facsimile: (212) 336-8340
                               ebarron@susmangodfrey.com
                               zsavage@susmangodfrey.com
                               tlusztig@susmangodfrey.com
                               afrawley@susmangodrey.com
                               espanos@susmangodfrey.com

                               Scarlett Collings (4985602)
                               SUSMAN GODFREY L.L.P.
                               1000 Louisiana, Suite 5100
                               Houston, TX 77002
                               Telephone: (713) 651-9366
                               Facsimile: (713) 654-6666
                               scollins@susmangodfrey.com

                               Steven Lieberman (SL8687)
                               Jennifer B. Maisel (5096995)
                               Kristen J. Logan (pro hac vice)
                               ROTHWELL, FIGG, ERNST & MANBECK, P.C.
                               901 New York Avenue, N.W., Suite 900 East
                               Washington, DC 20001
                               Telephone: (202) 783-6040
                               Facsimile: (202) 783-6031
                               slieberman@rothwellfigg.com
                               jmaisel@rothwellfigg.com
                               klogan@rothwellfigg.com

                               Attorneys for Plaintiff
                               The New York Times Company




                                 2
